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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

JACQUELINE PIERCE


V.                                                   D.N. 3:19 cv 163


WELLS FARGO CLEARING
SERVICES, LLC and
MATTHEW GORDON                                       FEBRUARY 4, 2019

                            COMPLAINT AND JURY DEMAND


     I.   Parties

1. The Plaintiff, Jacqueline Pierce is a resident of New Britain, Connecticut.

2.   The Defendant Wells Fargo Clearing Services, LLC (“Wells Fargo”) is a banking

     Corporation doing business in New Jersey and Connecticut with a headquarters at One North

     Jefferson Avenue, St. Louis, Missouri and employs in excess of 500 employees. It has a

     business address at 358 Market Street, Saddle Brook, New Jersey 07663.

3. The Defendant Matthew Gordon (“Gordon”) is an employee of Wells Fargo working in

     Saddle Brook, New Jersey and Lodi, New Jersey. He is a financial advisor also known as an

     “Investment Adviser Representative”. His Central Registration Depository (“CRD”) number

     is 4286268.




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     II. Jurisdiction, Venue and Equitable Relief

4. This action against Defendants Wells Fargo and Gordon arises under the Section 10(b) of the

     Securities Exchange Act [15 U.S.C. Section 78j(b)] and Rules 10b-5(a) and (c) thereunder

     [17 C.F.R. Section 240.10b-5(a)] and State of Connecticut common law.

5. Venue is proper in this District and Division because a substantial part of the events giving

     rise to Plaintiff’s claim arose here and one or more of the breaches of which Plaintiff

     complains occurred here.

     III. Statement of Facts:

6. The Plaintiff is a 60 year old single female.

7. Wells Fargo is a financial institution that employs over 500 employees.

8.   The Plaintiff first met Investment Adviser Matthew Gordon in the fall of 2009. At the time

     the Plaintiff was living at 272 Marlboro Road, Wood Ridge, New Jersey.

9. In 2009, the Plaintiff deposited $500,000 with Defendant Wells Fargo pursuant to a written

     agreement under which Defendant Gordon became the Plaintiff’s Investment Adviser.

10. In 2017, Plaintiff moved to New Britain, Connecticut and continued to use Defendant

     Gordon as an investment adviser.

11. On April 28, 2010, the Plaintiff, on Defendant Gordon’s advice opened a AXA annuity with

     $100,000.00. At that time, Defendant Gordon represented to the Plaintiff that the AXA




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   annuity would most likely provide $1,000 to $1,200 guaranteed monthly income. In 2017,

   the Plaintiff determined that the AXA annuity would at most provide $500 to $600 per

   month.

12. Defendant Gordon pestered the Plaintiff incessantly about a wealthy friend of the Plaintiff’s

   who Defendant Gordon wanted as a client. He even went so far as to ask the Plaintiff to

   identify the location of her friend’s house using google maps so that he could locate her and

   attempt to obtain her as a client.

13. Defendant Gordon would often show the Plaintiff naked pictures of some of his female

   clients and naked pictures of his wife.

14. Defendant Gordon asked the Plaintiff to help him find women online.

15. Defendant Gordon told the Plaintiff that he often went to massage parlors to have sex and

   that his wife was ok with him visiting massage parlors to have sex.

16. In or around 2013, Defendant Gordon screamed at the Plaintiff in a public parking lot telling

   her she had “screwed up all HIS financial planning for (her)” and that he didn’t want her as a

   client anymore. The Plaintiff started to cry and pleaded with him not to abandon her.

17. In 2014, at a time when the Plaintiff was selling her residence at 272 Marlboro Road, Wood

   Ridge, New Jersey, Defendant Gordon, without solicitation, offered to do a yard clean up for

   her for $1,000 in an attempt to take advantage of her.




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18. In 2015, Defendant Gordon advised that Plaintiff that she should extend a variable rate loan

   she had with Defendant Wells Fargo which had a credit limit of $131,000.00 at an intial

   interest rate of 4.75%. Despite that fact that extending the loan was not in the best financial

   interest of the Plaintiff, Defendant Gordon stated to her “Wells Fargo will keep extending it

   and don’t worry about repaying it. They LOVE customers that keep extending their loans.”

   By the fall of 2018, the interest rate on the loan was 6.5% but Defendant Gordon continued

   to encourage the Plaintiff to extend the loan. Defendant Gordon was aware that it would be

   difficult for the Plaintiff to repay the loan given her circumstances including not having a job

   and having expenses related to her children.

19. In 2015, Defendant Gordon again threated to drop the Plaintiff as a client for not listening to

   his advice.

20. Between 2014 and 2018, Defendant Gordon, on numerous occasions advised the Plaintiff to

   rent one of his apartments despite the fact that it would have been much too expensive given

   her financial circumstances and the fact that she did not have a job. Defendant Gordon was

   aware that the apartment would be too expensive for the Plaintiff and in fact said to the

   Plaintiff: “You will be losing money, but you’ll be in a nice place.”

21. In the summer of 2018, the Plaintiff asked Defendant Gordon for cash from one of her Wells

   Fargo accounts and Defendant Gordon screamed at the Plaintiff that she had “screwed up”




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   and ‘messed up all his hard work”. Defendant Gordon told the Plaintiff “Get rid of Robert

   (Plaintiff’s boyfriend) and John (Plaintiff’s son), take Sean (Plaintiff’s son) and go

   somewhere and you’ll have to live on dollar store foods for the rest of your life.”

22. In 2017 and 2018, Defendant Gordon would not allow the Plaintiff to take funds out of her

   accounts unless she explained to him what she needed the money for.

23. In 2017 and 2018, when the Plaintiff asked for money transfers it would take Defendant

   Gordon at least a week and sometimes two weeks to make the transfer.

24. In the fall of 2018, Defendant Gordon offered the Plaintiff $10,000 of his own money if she

   would “get rid of” Robert (the Plaintiff’s boyfriend).

25. In November, 2018, the Plaintiff made the decision to move her assets to a new financial

   advisor given Defendant Gordon’s inappropriate and illegal behavior.

26. On December 12, 2018, the Plaintiff met with advisors from Merrill Lynch Wealth

   Management (“Merrill Lynch”) and via a conference call advised Defendant Gordon that she

   was moving her assets to Merrill Lynch.

27. During the course of the conference call, Defendant Gordon’s supervisor Steven Schofield

   joined the conference call and rudely demanded to know who was calling and what it was

   about. Plaintiff explained that she wished to move her assets from Wells Fargo to Merrill

   Lynch.




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28. During the course of the conference call, the Plaintiff asked Defendant Gordon to pay off the

   variable rate loan and put $10,000.00 into her checking account. Those requests were not

   honored by Defendant Gordon and Defendant Wells Fargo until December 20, 2018.

29. Plaintiff has requested that all her assets be moved from Wells Fargo to Merrill Lynch.

30. During the course of her relationship with Defendant Gordon, Defendant Gordon

   mismanaged her assets causing them to deplete.



   IV. Count One: Violation of Section 10(b) of the Securities Exchange Act [15 U.S.C.

           Section 78j(b) and Rules 10b-5(a) and (c) thereunder [17 C.F.R. Section 240.10b-

           5(a) as to Defendant Gordon:

31. Defendant Gordon, in connection with the purchase or sale of securities and by the use of

   means or instrumentalities of interstate commerce or of the mails, or of the facilities of a

   national securities exchange, knowingly or recklessly (a) employed devices, schemes or

   artifices to defraud; (b) made untrue statements of a material fact or omitted to state a

   material fact necessary in order to make the statement made, in light of the circumstances

   under which they were made, not misleading; and/or (c) engaged in acts, transactions,

   practices, or courses of business which operated or would operate as a fraud or deceit upon

   other persons.




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32. By reason of the foregoing, Defendant Gordon directly or indirectly, violated Section 10(b)

   of the Securities Exchange Act [15 U.S.C. Section 78j(b)] and Rules 10b-5(a) and (c)

   thereunder [17 C.F.R. Section 240.10b-5(a) and (c)].



   V. Count Two: Breach of Fiduciary Duty as to Defendant Gordon:

33. By virtue of Defendant Gordon’s position as Investment Adviser Representative for the

   Plaintiff, a fiduciary relationship existed between Defendant Gordon and the Plaintiff which

   gave rise to a duty of loyalty on the part of Defendant Gordon to the Plaintiff.

34. As Investment Adviser Representative for the Plaintiff, Defendant Gordon had an obligation

   to act in the best interests of the Plaintiff and Defendant Gordon had an obligation to act in

   good faith in any manner relating to the Plaintiff.

35. Defendant Gordon advanced his own interests to the detriment of the Plaintiff by: a) using

   the Plaintiff to attempt to obtain one of the Plaintiff’s wealthy friends as a client; b) using the

   Plaintiff to attempt connect with women for sexual relationships; c) attempting to take

   advantage of the Plaintiff by requesting $1,000 to clean her yard; d) encouraging her to

   extend her high interest rate loan when it was not in her financial interest to do so; and e)

   encouraging her to rent one of his apartments when it was not in her financial interest to do

   so.




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36. As a result of the Defendant’s breaches of his fiduciary duty, the Plaintiff has sustained

   damages that were proximately caused by Defendant Gordon’s breach of his fiduciary duties.

   The damages include but are not limited to emotional distress related to Defendant Gordon’s

   mental abuse and use of the Plaintiff to support his own interests to the Plaintiff’s detriment

   and economic damage related to the payment of excessive interest.

   VI. Count Three: Violations of the Connecticut Unfair Trade Practices Act,

           Connecticut General Statutes Sections 42-110b(a) et seq. as to Defendant

           Gordon:

37. In abusing his relationship with the Plaintiff and breaching his fiduciary duty to her,

   Defendant Gordon engaged in unfair methods of competition and unfair and deceptive acts in

   the conduct of trade and commerce in violation of the Connecticut Unfair Trade Practices

   Act, Connecticut General Statutes Sections 42-100b(a) et seq.

38. Defendant Gordons actions were immoral, unethical, oppressive, unscrupulous, offended

   public policy and caused the damages to the Plaintiff including but not limited to emotional

   distress and payment of excessive interest.



   VII.    Count Four: Negligent Misrepresentation as to Defendant Gordon:




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39. Defendant Gordon knew or should have known that his representation to the Plaintiff that the

   AXA annuity would provide $1,000 to $1,200 monthly income was false and that it would

   only provide $500 to $600 per month.

40. The Plaintiff reasonably relied upon the representation because it was being provided by

   Defendant Gordon who was her investment adviser.

41. The Plaintiff has incurred damages by relying on the Defendant’s false representation and

   allocating assets to the AXA annuity.



   VIII. Count Five: Intentional Misrepresentation as to Defendant Gordon:

42. Defendant Gordon knowingly made a false representation to the Plaintiff that AXA annuity

   would provide $1,000 to $1,200 monthly income knowing that it would only provide $500 to

   $600 per month.

43. Defendant Gordon made the representation to the Plaintiff to induce her to purchase the AXA

   annuity to his own benefit.

44. The Plaintiff reasonably relied upon the representation because it was being provided by

   Defendant Gordon who was her investment adviser and purchased the AXA annuity to her

   detriment.




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45. The Plaintiff incurred damages by purchasing the AXA annuity expecting that it would

   provide a monthly benefit of $1,000 to $1,200.



   IX: Count Six: Negligent Infliction of Emotional Distress as to Defendant Gordon:

46. Defendant Gordon knew or should have know that his conduct including falsely claiming

   that the AXA annuity he was offering would provide a monthly benefit of $1,000 to $1,200,

   pestering her about her wealthy friend so that he could obtain her as a client, showing him

   naked pictures of his wife and other women, asking her to help him find women, yelling at

   the Plaintiff, belittling the Plaintiff, offering to clean her yard for $1,000, encouraging her to

   extend her loan to her financial detriment, threatening to drop her as a client, encouraging her

   to rent his apartment, telling her to get rid of her boyfriend and son, making her explain why

   she needed money, offering her $10,000 to get rid of her boyfriend, making her wait for cash

   transfers and mismanaging her assets involved an unreasonable risk of causing emotional

   distress that might result in bodily harm.

47. Plaintiff did in fact suffer severe emotional distress and bodily harm.

48. Plaintiff’s emotional distress was foreseeable by Defendant Gordon.

49. The Defendant’s conduct was the cause of the Plaintiff’s severe emotional distress and bodily

   harm and the Plaintiff suffered substantial damages as a result.




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X: Count Seven: Negligent Supervision as to Wells Fargo:

50. Wells Fargo knew or should have known that Defendant Gordon had the propensity to

   engage in such inappropriate and illegal behavior.

51. In fact, Wells Fargo was aware of at least two customer complaints made about Defendant

   Gordon and reported by FINRA, one dated November 1, 2006 and one dated January 20,

   2009.

52. Despite Wells Fargo’s knowledge that Defendant Gordon had such a propensity to engage in

   inappropriate and illegal behavior, it kept him on as an employee and provided him free reign

   to mistreat and abuse the Plaintiff.

53. Because of Wells Fargo’s negligent supervision of Defendant Gordon, Plaintiff suffered

   damages.



XI. Damages/Prayer for Relief:

55. As a result of Matthew Gordon and Wells Fargo’s treatment of the Plaintiff, the Plaintiff has

suffered financial and emotionally.

56. As to all Counts, the Plaintiff prays for the following:

       a. Compensatory Damages;




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b. Emotional Distress Damages;

c. Economic Damages;

d. Equitable Damages;

e. Civil monetary penalties under the Securities and Exchange Act;

f. Attorney’s Fees and Costs;

g. Punitive Damages;

h. All Other Damages Available.




                                THE PLAINTIFF:


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